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11
12                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
13
14   PAULA KITCHEN,                               )   No.: _4:17-cv-00272-RCC
                                                  )
15                 Plaintiff,                     )
                                                  )   JOINT STIPULATION OF
16          vs.                                   )   DISMISSAL WITH PREJUDICE AND
                                                  )   WITHOUT COSTS
17                                                )
                                                  )
18   CONCORD SERVICING COMPANY                    )
     d/b/a BLACKWELL RECOVERY,                    )
19                                                )
                   Defendant.                     )
20
21          IT IS HEREBY STIPULATED AND AGREED by and between the undersigned
22
     counsel for all parties in the above captioned action, that whereas no party hereto is an
23
     infant, incompetent person for whom a committee has been appointed or conservatee, and
24
25   no person not a party has an interest in the subject matter of the action, that this action is
26
     dismissed with prejudice and without costs to either party pursuant to Rule 41(a)(1)(A)(ii)
27
     of the Federal Rules of Civil Procedure.
28
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 1   Dated this 31st day of May at New York, New York.

 2   /s/ Avraham Zvi Cutler
 3   Avraham Zvi Cutler
     Attorney for Plaintiff
 4
 5
     Dated this 31st day of May at Scottsdale, Arizona.
 6
     /s/ Sonja Yurkiw
 7
     Sonja Yurkiw
 8   Attorney for Defendant
 9
                                  CERTIFICATE OF SERVICE
10
            I hereby certify under penalty of perjury under the laws of the State of Arizona
11   that on the 31st day of May 2018, I electronically filed the foregoing with the Clerk of the
12   Court using the CM/ECF system which will send a notification of such filing to the
     following: Sonja Yurkiw, Attorney for Defendant.
13
14   /s/ Avraham Zvi Cutler
     Avraham Zvi Cutler
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